John Frost Jr

From:                             John C. Zimmermann <jczimmermann@tndagc.org>
Sent:                             . .bruary 15,2018 3:39PM
To:
Subject:                          Bill just introduced
Attachments:                      SB2224.pdf




John C. Zimmermann
Asst. District Attorney General
320 W. Main Street
Murfreesboro, TN 37130
615-898-8008

LEGAL CONFIDENTIAL: The information in this e-mail and in any attachment may contain information that
is privileged either legally or otherwise. It is intended only for the attention and use of the named recipient. If
you are not the intended recipient, you are not authorized to retain, disclose, copy or distribute the message
and/or any of its attachments. If you received this e-mail in error, please notify me and delete this message.




                                                          1
        Case 3:18-cv-00965 Document 5-5 Filed 10/15/18 Page 1 of 4 PageID #: 80
                                                                                                  CANDY -000001157
                                                                         <BiiiNo> <Sponsor>

                                         SENATE BILL 2224

                                           By Southerland




                                       AN ACT to amend Tennessee Code Annotated, Title 39;
                                             Title 40, Chapter 33; Title 43; Title 53 and Section
                                             67-4-2802, relative to industrial hemp.

 BE IT ENACTED BY THE GENERAL ASSEMBLY OF THE STATE OF TENNESSEE:

         SECTION 1. Tennessee Code Annotated, Section 39-11-704, is amended by adding

 the following as a new subsection:

                (e) The following types of property are not subject to forfeiture under§ 39-11-

         703 based solely on their composition:

                        (1) Industrial hemp, as defined in§ 43-26-102;

                        (2) Any isolates of Industrial hemp other than delta-9

                tetrahydrocannabinol (THC);

                        (3) Any industrial hemp-derived products that do not contain more than

                three-tenths of one percent (0.3%) of delta-9 tetrahydrocannabinol (THC); and

                        (4) Cannabidiol, with less than three-tenths of one percent (0.3%) of

                tetrahydrocannabinol, that Is sourced from industrial hemp.

        SECTION 2. Tennessee Code Annotated, Section 39-17-402(16)(C), is amended by

 deleting the subdivision and substituting the following:

                (C) The term "marijuana" does not include the following:

                        (i) Industrial hemp, as defined in§ 43-26-102;

                        (ii) Any isolates of industrial hemp other than delta-9

                tetrahydrocannabinol (THC);

                        (iii) Any industrial-hemp-derived products that do not contain more than

                three-tenths of one percent (0.3%) of delta-9 tetrahydrocannabinol (THC); and


                                                SB2224
                                                011064
Case 3:18-cv-00965 Document 5-5 Filed-1-
                                       10/15/18 Page 2 of 4 PageID #: 81
                                                                                        CANDY -000001158
                        (iv) Cannabidiol, with less than three-tenths of one percent (0.3%) of

                tetrahydrocannabinol, that is sourced from industrial hemp;

         SECTION 3. Tennessee Code Annotated, Section 39-17-403(f), is amended by deleting

 the subsection and substituting the following:

                (f) The commissioner shall exclude the following from a schedule:

                        (1) Industrial hemp, as defined in§ 43-26-102;

                        (2) Any isolates of industrial hemp other than deita-9

                tetrahydrocannabinol (THC);

                        (3) Any Industrial-hemp-derived products that do not contain more than

                three-tenths of one percent (0.3%) of deita-9 tetrahydrocannabinol (THC);

                        (4) Cannabidiol, with less than three-tenths of one percent (0.3%) of

                tetrahydrocannabinol, that is sourced from industrial hemp; and

                        (5) Any nonnarcotic substance from a schedule if the substance may,

                under the Federal Food, Drug, and Cosmetic Act, compiled in 21 U.S.C. § 301 et

                seq., and the laws of this state, be lawfully sold over the counter without a

                prescription.

        SECTION 4. Tennessee Code Annotated, Section 39-17-415(c), is amended by

 deleting the subsection and substituting the following:

                (c) Nothing in this section shall be construed to categorize the following as a

        controlled substance:

                        (1) Industrial hemp, as defined In§ 43-26-102;

                        (2) Any isolates of industrial hemp other than deita-9

                tetrahydrocannabinol (THC);

                        (3) Any Industrial-hemp-derived products that do not contain more than

                three-tenths of one percent (0.3%) of deita-9 tetrahydrocannabinol (THC); and

                       (4) Cannabidiol, with less than three-tenths of one percent (0.3%) of

                tetrahydrocannabinol, that is sourced from industrial hemp.
                                                  SB2224
                                                  011064
Case 3:18-cv-00965 Document 5-5 Filed-2-10/15/18 Page 3 of 4 PageID #: 82
                                                                                          CANDY -000001159
        SECTION 5. Tennessee Code Annotated, Section 40-33-201, is amended by

 designating the existing language as subsection (a) and adding the following as a new

 subsection:

                (b) The following types of property are not subject to seizure and forfeiture under

        this part based solely on their composition:

                       (1) Industrial hemp, as defined in§ 43-26-102;

                       (2) Any isolates of industrial hemp other than delta-9

               tetrahydrocannabinol (THC);

                       (3) Any industrial-hemp-derived products that do not contain more than

               three-tenths of one percent (0.3%) of delta-9 tetrahydrocannabinol (THC); and

                       (4) Cannabidiol, with less than three-tenths of one percent (0.3%) of

               tetrahydrocannabinol, that is sourced from industrial hemp.

        SECTION 6. Tennessee Code Annotated, Section 53-11-201, is amended by adding

 the following as a new subsection:

               (I) The following types of property are not subject to seizure and forfeiture under

        this part based solely on their composition:

                       (1) Industrial hemp, as defined in§ 43-26-102;

                       (2) Any isolates of industrial hemp other than delta-9

               tetrahydrocannabinol (THC);

                       (3) Any industrial-hemp-derived products that do not contain more than

               three-tenths of one percent (0.3%) of delta-9 tetrahydrocannabinol (THC); and

                       (4) Cannabidiol, with less than three-tenths of one percent (0.3%) of

               tetrahydrocannabinol, that is sourced from industrial hemp.

        SECTION 7. This act shall take effect July 1, 2018, the public welfare requiring it.




                                           - 3 -                                           011064


Case 3:18-cv-00965 Document 5-5 Filed 10/15/18 Page 4 of 4 PageID #: 83
                                                                                        CANDY -000001160
